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                      UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

Eric C. Grimm,                            |
                                          |
               Plaintiff,                 |
                                          |
        vs.                               |       Civil Action No. 17-cv-654
                                          |
Raw Story Media, Inc., The Herald         |
Publishing Company, LLC, MLive            |        Hon. Gordon J. Quist
Media Group, f/k/a Booth Newspapers,      |        United States District Judge
Inc., Newslo, Stephen Kloosterman,        |
Kevin Even, Paul Shibley, Brianna Scott, |         Hon. Philip J. Green
David Bossenbroek, Matt J. Roberts, David |        United States Magistrate Judge
Shafer, Barton Dieters, Gregory           |
C. Pittman, Williams | Hughes, PLLC,      |
Douglas Hughes, Theodore N. Williams, Jr, |
Timothy Hicks, William Marietti, Kathy    |
Hoogstra, Robert Carter, Raymond          |
Kostrzewa, Linnea Kostrzewa, Mark T.      |
Boonstra, Neil Mullally, Vicki Broge, The |
Washington Times, and the County          |
of Muskegon,                              |
                                          |
               Defendants.                |
____________________________________|
Eric C. Grimm (P58990)
ERIC C. GRIMM, PLLC
P.O. Box 1266
1017 West South Street
Alvin, TX 77512-1266
Main: (734) 717-4900
Fax: (888) 502-1291
Email: ecgrimm@umich.edu
Attorney for Plaintiff.
____________________________________

 VERIFIED SECOND MOTION OF PLAINTIFF UNDER FED. R. CIV. P. 4(c)(3) and/or
              Fed. R. Civ. P. 4(e)(1) FOR ALTERNATE SERVICE

       Plaintiff respectfully moves for alternate service, under Rule 4 of the FEDERAL RULES OF


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CIVIL PROCEDURE. Plaintiff is happy to report that a request to the Judicial Authority of Israel has

been dispatched through the Postal Service (copy by email to the Judicial Authority), consistent with

the Hague Convention for Service Abroad of Judicial and Extrajudicial Documents in Civil or

Commercial Matters, seeking service on the (apparently) unincorporated, foreign Defendant Newslo.

       Part of this Motion respectfully requests authorization to approach service on Newslo in a

belt-and-suspenders manner, by also serving Newslo by publication and email. The MICHIGAN

COURT RULES ordinarily contemplate service by publication close to where a lawsuit is pending.

Newslo is unlikely to be paying any attention to any media in West Michigan. Publishing notice in

the Grand Rapids Press, or even the Detroit Free Press, is unlikely to provide notice to Newslo.

       Plaintiff respectfully suggests that publication of a legal notice in a newspaper with national

circulation – such as the New York Times or the Washington Post (The Guardian, the Financial

Times, or The Intercept, alternately, might be good candidates) is preferable. If the Court approves,

Plaintiff also is willing to perform service using electronic mail, directed to the last-known email

address1 of Eli Sompo a/k/a Newslo. Plaintiff, accordingly, prays for leave to carry out this

proposal.

       Likewise, Plaintiff is happy to report that Raw Story Media, LLC, has been served. Indeed,

Raw Story Media already has filed a motion to dismiss. Plaintiff is happy to report that The

Washington Times, LLC has agreed to accept service and that Plaintiff has prepared a draft

stipulation extending the time for The Washington Times, LLC, to answer or otherwise respond.



       1
         According to the latest “Whois” information from Internet doman name registrar
GoDaddy, the owner of Newslo is still using the email address eli@jlaw.co.il but appears to have
relocated from Jerusalem to Thessaloniki, Greece. No doubt, Mr. Sompo will remain mobile and
will be difficult to reach by means other than publication and email.

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       One of the Certified Mail, Restricted Delivery, envelopes that Plaintiff sent via the Postal

Service, evidently was not stickered with postage by the Postal Service at the time the stack of

envelopes was dropped off. Therefore, Plaintiff has re-sent the same envelope, this time with

postage affixed, to the Hon. Mark T. Boonstra. Plaintiff presently has no reason to believe that

Boonstra will be uncooperative, or refuse to sign for the Certified Mail envelope once it arrives.

Plaintiff does respectfully request that the Court extend the time for service on Boonstra by a

reasonable amount, so as to ensure that the Postal Service can attempt delivery three times.

        Additionally, as a courtesy, the Plaintiff has contacted the Office of the Michigan Attorney

General, Civil Litigation, Employment, and Elections Division, to advise the Office of the Attorney

General that there is a First Amendment lawsuit pending against Judge Boonstra, as well as

providing the Plaintiff’s contact information and the Federal District Court case number to the

Assistant to Judge Boonstra, in Boonstra’s office in Lansing – so as to provide actual notice that a

lawsuit is pending. So far, no word is forthcoming whether service is being voluntarily accepted,

however. Accordingly, in an abundance of caution, it probably makes sense to include Boonstra

among the other defendants to be served by publication, referenced below.

       While service on out-of-Muskegon Defendants has gone reasonably smoothly, in contract,

service on the remaining Muskegon-area Defendants who have not yet waived or accepted service

(several attorneys who know better than to “duck service” but who are thumbing their noses at the

Court, anyway, plus Robert Carter, Vicki Broge, Linnea Kostrzewa, the Estate of Theodore N.

Williams, Jr. (now deceased) and Barton Dieters) has proven difficult.               Unreasonably,

extraordinarily, difficult. Every single one of these Defendants already knows that a lawsuit is

pending. Every single one of these Defendants knows that he or she has done wrong and had


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engaged in tortious behavior. They are just being malicious about the service process – for the

purpose of imposing expense and delay needlessly on the Plaintiff and on the Court.

       As for the attorneys, Defendant Broge, and Defendant Dieters, Plaintiff continues to

recommend that the Court authorize service to be accomplished by the United States Marshals

Service, as previously recommended in another motion filed by the Plaintiff.

       In order to move this process along, however, Plaintiff in the instant motion requests that the

Court give its approval to perform service by publication (and, again, these Defendants, all of them,

already are well aware that a lawsuit is pending). The law relating to this is set forth below.

       Under Michigan law, “Provisions for service of process contained in [the Michigan Court]

[R]ules are intended to satisfy the due process requirement that a defendant be informed of an action

by the best means available under the circumstances,” MCR 2.105(J)(1), and “[a]n action shall not

be dismissed for improper service of process unless the service failed to inform the defendant of the

action.” MCR 2.105(J)(3). Under the circumstances, there is no mystery in Muskegon already that

the County itself and all of the named defendants have been sued. All of the West Michigan

defendants are already aware of the lawsuit, and are just playing games.

       The Court’s Order of December 8, 2017, states, “Plaintiff shall accomplish service or file

a motion for alternate service regarding the above-identified Defendants by” January 3, 2018. See

Order, at 2. Plaintiff, accordingly, is filing a motion for alternate service on the non-cooperative

Defendants, on or before the deadline specified by the Court.

       Several alternate means are available if the Court relies upon FED. R. CIV. P. 4(e)(1)

authorizing service by “following state law for serving a summons in an action brought in courts of

general jurisdiction in the state where the district court is located or where service is made.” MCR


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2.105(I), in turn, states as follows:

                (I)     Discretion of the Court.

                (1)     On a showing that service of process cannot reasonably be

                        made as provided by this rule, the court may by order permit

                        service of process to be made in any other manner

                        reasonably calculated to give the defendant actual notice

                        of the proceedings and an opportunity to be heard.

                (2)     A request for an order under the rule must be made in a

                        verified motion dated not more than 14 days before it is filed.

                        The motion must set forth sufficient facts to show that

                        process cannot be served under this rule and must state the

                        defendant’s address or last known address, or that no address

                        of the defendant is known. If the name or present address of

                        the defendant is unknown, the moving party must set forth

                        facts showing diligent inquiry to ascertain it. A hearing on

                        the motion is not required unless the court so directs.

                (3)     Service of process may not be made under this subrule before

                        entry of the court’s order permitting it.

        Barton Dieters’s last known address is identical to the offices of WOOD-TV in Grand

Rapids:         Telephone – 616-456-8888

                Address –       Barton Dieters, c/o

                                WOOD TV8


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                              120 College Ave SE

                              Grand Rapids, MI 49503

       Ms. Broge’s last known address or addresses are found in Exhibit One to the prior motion;

she also works intermittently at the Muskegon County Probate Court, and may be located there:

              Vicki Broge

              P.O. Box 311

              8 West Walton Street

              Muskegon, MI 49443-0311

The County of Muskegon Website also has PDF files of one or more contracts between the County

and Broge, that also use and reference the above address information.

       The last known address of each of the attorneys who are ducking service is easy enough to

find in the Michigan Bar Journal:

       David L. Bossenbroek                         Brianna T. Scott

       Date of Admission: Oct 30, 1974              Date of Admission: Jan 12, 2001

       Reg #: P24289                                Reg #: P62170

       Smith Haughey Rice & Roegge                  Brianna T. Scott & Associates, PLLC

       900 3rd St Ste 204                           75 W Apple Ave

       Muskegon, MI 49440-1152                      Muskegon, MI 49440-1309

       Main: (231) 724-4327                         Main: (231) 727-5888

       dbossenbroek@shrr.com                        brianna@briannascott.com

                                                    http://www.briannascott.com

       Paul E. Shibley                              David P. Shafer


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       Date of Admission: Nov 25,1994                Date of Admission: Nov 13,1995

       Reg #: P51491                                 Reg #: P53497

       West Michigan Injury Lawyers PLC              Nolan & Shafer PLC

       380 W Western Ave Ste 101                     40 Concord Ave Ste 1

       Muskegon, MI 49440-1169                       Muskegon, MI 49442-3455

       Main: (231) 725-8444                          Main: (231) 722-2444

       Cell: 616-283-90552                           dpshafer@wemakeitright.com

       paul@wminjurylaw.com                          http://www.wemakeitright.com

       http://wminjurylaw.com

       The last-known address of Linnea Kostrzewa, of Robert Carter, and of the Personal

Representative of the Estate of Theodore N. Williams, Jr., are as follows:

       1.      JOHNSON, SYREETA L

               Personal Rep for the Estate of Theodore N. Williams, Jr.

               3160 FIELSTRA

               MUSKEGON , MI 49444

               Michael Kleveland is the attorney of record for the Estate.

       2.      Robert Carter

               1823 Kings Court

               Muskegon, MI 49445



       2
        A courtesy call to Mr. Shibley’s cell phone on the date this Motion was filed, resulted in
Mr Shibley answering the telephone, and identifying himself. When the Plaintiff identified
himself, Mr. Shibley went silent and would not speak another word until Shibley hung up the
phone. This is not professional conduct.

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               email: bobandcarole2003@yahoo.com

       3.      Linnea Kostrzewa

               2098 Maryland Blvd.

               Norton Shores MI 49441

       One additional approach to service, under the circumstances, also requires prior court

authorization by way of an Order, but involves FED R. CIV. P. 4(c)(3). The rule specifically

authorizes the Plaintiff to request, and the Court to permit, delegation of the task of service to the

United States Marshals Service. Specifically, the rule allows service in the following manner: “(3)

By a Marshal or Someone Specially Appointed. At the plaintiff’s request, the court may order that

service be made by a United States marshal or deputy marshal or by a person specially appointed

by the court.” Plaintiff includes such a formal request in this motion, at least with respect to the

attorneys Dieters, and Broge. It is suitable for any defendant that has not yet either waived personal

service, or accepted service voluntarily. If there are service expenses incurred by the U.S. Marshals

Service, Plaintiff’s income is presently improving compared with how things were in Michigan, or

shortly after Plaintiff’s relocation to Texas. Plaintiff is happy to commit to defray the reasonable

and necessary expenses of having the U.S. Marshals Service complete personal service on each and

all of the six (6) named recalcitrant Defendants.

       That said, FED. R. CIV. P. 4(e)(1), in conjunction with Rule 106 of the Michigan Court Rules,

authorizes service by publication in a newspaper of general circulation, where the lawsuit is pending.

The governing rule in its entirety, specifically states:

       Rule 2.106      Notice by Posting or Publication

       (A)     Availability. This rule governs service of process by publication or posting pursuant


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           to an order under MCR 2.105(I).

     (B)   Procedure. A request for an order permitting service under this rule shall be made by

           motion in the manner provided in MCR 2.105(I). In ruling on the motion, the court

           shall determine whether mailing is required under subrules (D)(2) or (E)(2).

     (C)   Notice of Action; Contents.

           (1)    The order directing that notice be given to a defendant under this rule must

                  include

                  (a)       the name of the court,

                  (b)       the names of the parties,

                  (c)       a statement describing the nature of the proceedings,

                  (d)       directions as to where and when to answer or take other action

                            permitted by law or court rule, and

                  (e)       a statement as to the effect of failure to answer or take other action.

           (2)    If the names of some or all defendants are unknown, the order must describe

                  the relationship of the unknown defendants to the matter to be litigated in the

                  best way possible, as, for example, unknown claimants, unknown owners, or

                  unknown heirs, devisees, or assignees of a named person.

     (D)   Publication of Order; Mailing. If the court orders notice by publication, the defendant

           shall be notified of the action by

           (1)    publishing a copy of the order once each week for 3 consecutive weeks, or

                  for such further time as the court may require, in a newspaper in the county

                  where the defendant resides, if known, and if not, in the county where the


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                      action is pending; and



              (2)     sending a copy of the order to the defendant at his or her last known address

                      by registered mail, return receipt requested, before the date of the last

                      publication. If the plaintiff does not know the present or last known address

                      of the defendant, and cannot ascertain it after diligent inquiry, mailing a copy

                      of the order is not required. The moving party is responsible for arranging for

                      the mailing and proof of mailing.

       (E)    Posting; Mailing. If the court orders notice by posting, the defendant shall be notified

              of the action by

              (1)     posting a copy of the order in the courthouse and 2 or more other public

                      places as the court may direct for 3 continuous weeks or for such further time

                      as the court may require; and

              (2)     sending a copy of the order to the defendant at his or her last known address

                      by registered mail, return receipt requested, before the last week of posting.

                      If the plaintiff does not know the present or last known address of the

                      defendant, and cannot ascertain it after diligent inquiry, mailing a copy of the

                      order is not required. The moving party is responsible for arranging for the

                      mailing and proof of mailing.

       The order must designate who is to post the notice and file proof of posting. Only a person

listed in MCR 2.103(B)(1), (2), or (3) may be designated.

       (F)    Newspaper Defined.


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            (1)    The term “newspaper” as used in this rule is limited to a newspaper published

                   in the English language for the dissemination of general news and

                   information or for the dissemination of legal news. The newspaper must

                   have a bona fide list of paying subscribers or have been published at least

                   once a week in the same community without interruption for at least 2 years,

                   and have been established, published, and circulated at least once a week

                   without interruption for at least 1 year in the county where publication is to

                   occur.

            (2)    If no newspaper qualifies in the county where publication is to be made under

                   subrule (D)(1) the term “newspaper” includes a newspaper that by this rule

                   is qualified to publish notice of actions commenced in an adjoining county.

      (G)   Proof of Service. Service of process made pursuant to this rule may be proven as

            follows:

            (1)    Publication must be proven by an affidavit of the publisher or the publisher's

                   agent

                   (a)      stating facts establishing the qualification of the newspaper in which

                            the order was published,

                   (b)      setting out a copy of the published order, and

                   (c)      stating the dates on which it was published.

            (2)    Posting must be proven by an affidavit of the person designated in the order

                   under subrule (E) attesting that a copy of the order was posted for the

                   required time in the courthouse in a conspicuous place open to the public and


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                       in the other places as ordered by the court.

       (3)     Mailing must be proven by affidavit. The affiant must attach a copy of the order as

               mailed, and a return receipt.

       As for the following Defendants, Plaintiff respectfully prays for an Order authorizing service

by publication in either the Muskegon County Legal News, or the Muskegon Chronicle, consistent

with all the requirements of MCR 106: David Bossenbroek, David Shafer, Brianna Scott, the Estate

of Theodore N. Williams, Jr., Robert Carter, Linnea Kostrzewa, Vicki Broge, and Paul Shibley.

Shibley, technically, resides in Ottawa County, but maintains his principal office in Muskegon

County. If the Court wishes service to include publication in a newspaper of general circulation in

Ottawa County, as to Shibley, please so direct and Plaintiff is willing to make it happen. Defendant

Boonstra is a resident of Ottawa County, and it will be necessary to publish in Ottawa County,

anyway, if service by Publication upon Boonstra is approved. Plaintiff prays that service by

publication be authorized on Boonstra. As for defendant Dieters, publication would need to be done

in Kent County, and Plaintiff prays for said authorization to the extent that the court does not just

direct service in the manner permitted by FED R. CIV. P. 4(c)(3). As for Defendant Newslo, Plaintiff

respectfully suggests that service by publication within the Western district of Michigan is not

reasonably calculated to provide actual notice to Newslo – and that a combination of email to the

last-known email address of Eli Sompo a/k/a Newslo, plus possibly publication using a newspaper

of larger circulation (several possibilities are listed above) is the most reasonable approach.




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        Accordingly, on or before the deadline set by the Court, the Plaintiff has fulfilled the Court’s

instruction to file a motion seeking leave to perform service by alternate means.

Dated: January 2, 2018.

                                                       Respectfully submitted,

                                                       _/s/ Eric C. Grimm ________
                                                       Eric C. Grimm (P58990)
                                                       ERIC C. GRIMM, PLLC
                                                       P.O. Box 1266
                                                       1017 West South Street
                                                       Alvin, TX 77512-1266
                                                       Main: (734) 717-4900
                                                       Fax: (888) 502-1291
                                                       Email: ecgrimm@umich.edu


                                          VERIFICATION

        I declare and verify under penalty of perjury that the factual assertions in the foregoing

Motion for Alternate Service are true and correct. See 28 U.S.C. § 1746. Signed on January 2,

2018.


                                                       _/s/ Eric C. Grimm ________
                                                       Eric C. Grimm (P58990)
                                                       ERIC C. GRIMM, PLLC
                                                       P.O. Box 1266
                                                       1017 West South Street
                                                       Alvin, TX 77512-1266
                                                       Main: (734) 717-4900
                                                       Fax: (888) 502-1291
                                                       Email: ecgrimm@umich.edu




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                                 CERTIFICATE OF SERVICE

       I certify that the foregoing Motion For Alternate Service was electronically filed through the

Court’s ECM/CF System on January 2, 2018, and will therefore automatically be served by email

on all Parties and counsel that have appeared. As a courtesy, it is also being transmitted and served

by electronic mail on legal counsel for the Washington Times.

                                                      __/s/ Eric C. Grimm_______________
                                                      Eric C. Grimm (P58990)
                                                      ERIC C. GRIMM, PLLC
                                                      P.O. Box 1266
                                                      1017 West South Street
                                                      Alvin, TX 77512-1266
                                                      Main: (734) 717-4900
                                                      Fax: (888) 502-1291
                                                      Email: ecgrimm@umich.edu




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